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                                      UNITED STATES DISTRICT COURT
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                                              DISTRICT OF NEVADA
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 8
         BRANDON M. JEFFERSON,                                   Case No. 3:18-cv-00064-HDM-CLB
 9
                                               Petitioner,                            ORDER
10             v.
11       PERRY RUSSELL, 1 et al.,
12                                         Respondents.
13

14            On February 25, 2019, this court entered an order staying this action to allow

15   petitioner to exhaust his state remedies for all his claims. ECF No. 34. On July 20, 2020,

16   petitioner filed a motion to lift the stay and reopen these proceedings, indicating that his

17   state court proceedings have been concluded. ECF No. 36. In response, respondents

18   filed a notice indicating their non-opposition to petitioner’s motion (ECF No. 37), but also

19   filed a motion to dismiss (ECF No. 38) arguing that petitioner failed to comply with this

20   court’s order requiring him to file his motion to reopen proceedings within 45 days of the

21   conclusion of state court proceedings.

22            Prior to filing his motion to lift the stay in this case and unbeknownst to

23   respondents, petitioner filed a new habeas petition in this court (Case No. 3:20-CV-

24   00301-RCJ-CLB), apparently under the mistaken assumption that that was the proper

25   method to reopen his stayed habeas case. Petitioner initiated that proceeding prior to

26   the deadline established in the court’s stay order. See ECF No. 1; 3:20-CV-00301-RCJ-

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      Petitioner has been moved from Ely State Prison to Northern Nevada Correctional Center. ECF No. 43. Perry Russell,
     warden at NNCC, is substituted as the primary respondent in this case.
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 1   CLB. Because petitioner made a good faith effort to comply with the court’s stay order,

 2   respondents’ motion to dismiss will be denied.

 3           Good cause appearing, the court shall reopen proceedings in this matter. In

 4   addition, the court shall establish a schedule for further litigation of this action.

 5           IT IS THEREFORE ORDERED that petitioner’s motion to lift stay (ECF No. 36) is

 6   GRANTED. The Clerk shall administratively REOPEN this action. The stay of this action

 7   is lifted.

 8           IT IS FURTHER ORDERED that respondents’ motion to dismiss (ECF No. 38) is

 9   DENIED. Respondents’ motions for extension of time (ECF Nos. 41/44) are GRANTED

10   nunc pro tunc as of their respective filing dates.

11           IT IS FURTHER ORDERED that the following schedule shall govern the further

12   litigation of this action:

13           1. Amended Petition. Petitioner shall have 30 days from the date this order is

14   entered within which to file an amended habeas petition if he wishes to do so.

15           2. Response to Petition. Respondents shall have 60 days following service of

16   the amended petition (or the expiration of time for doing so) to file and serve an answer

17   or other response to the petition.

18           3. Reply and Response to Reply. Petitioner shall have 45 days following

19   service of an answer by respondents to file a reply.

20           4. Briefing of Motion to Dismiss. If respondents file a motion to dismiss,

21   petitioner shall have 30 days following service of the motion to file an opposition to the

22   motion. Respondents shall thereafter have 30 days following service of the opposition

23   to the motion to file and serve a reply.

24           DATED this 19th day of October, 2020.

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26                                                        UNITED STATES DISTRICT JUDGE
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